Case 1:18-cv-25087-CMA Document 1 Entered on FLSD Docket 12/05/2018 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 18-CV-25087

 CHRISTIAN D. QUICENO PUERTA,

        Plaintiff,

 vs.

 BOCAS HOUSE CORAL GABLES, LLC and
 MAURICIO MANTOVANI,

       Defendants.
 ______________________________/

               COMPLAINT FOR FLSA MINIMUM WAGE VIOLATION(S)

        Plaintiff, Christian D. Quiceno Puerta, sues Defendants, Bocas House Coral Gables, LLC

 and Mauricio Mantovani, as follows:

                                Parties, Jurisdiction, and Venue

        1.      Plaintiff, Christian D. Quiceno Puerta, is a sui juris resident of Miami-Dade

 County, Florida, who is over 18 years old. He was an employee of Defendants as the term

 “employee” is defined under Florida law who consents to participate in this lawsuit.

        2.      Defendant, Bocas House Coral Gables, LLC, is a for profit Florida

 corporation that is sui juris and operated its restaurant business here, in Coral Gables, Miami-

 Dade County, Florida, at all times material.

        3.      Defendant, Mauricio Mantovani, was at all material times a resident of this

 District; he was and is a manager, owner, officer, director, and/or operator of the corporate

 Defendant for the relevant time period. He ran its day-to-day operations and was partially or

 totally responsible for paying Plaintiff’s and the other servers’ wages.

                                                   1	

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Case 1:18-cv-25087-CMA Document 1 Entered on FLSD Docket 12/05/2018 Page 2 of 7



        4.      Defendants were Plaintiff’s direct employers, joint employers and co-employers

 for purposes of the FLSA, as that term “employer” is defined by 29 U.S.C. §203 (d). All

 Defendants employed Plaintiff.

        5.      This Court has jurisdiction over Plaintiff’s FLSA claims.

        6.      Venue is proper in this Court pursuant because Defendants transact business in

 Miami-Dade County, they maintain their office and principal places of business and/or live in

 Miami-Dade County, and also because Defendants employed Plaintiff in Miami-Dade County,

 with most of the actions complained of occurring within this County.

                         Common Background Factual Allegations

        7.      Defendants regularly employed two or more employees for the relevant time

 period that handled goods or materials that travelled through interstate commerce, or used

 instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

 under the Fair Labor Standards Act.

        8.      Defendants have been, at all times material, an enterprise engaged in interstate

 commerce in the course of their marketing, preparation, cooking, service, and sale of foodstuffs,

 produce, meats, fish, beverages, coffees, teas, alcoholic beverages, and products that have moved

 through interstate commerce.

        9.      Defendants cooked, prepared, and stored perishables and alcoholic beverages

 while using machinery, appliances, refrigeration goods and materials that also have moved

 through interstate commerce.

        10.     Furthermore, Defendants regularly and recurrently obtain, solicit, exchange and

 send funds to and from outside of the State of Florida, use telephonic transmissions going outside


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Case 1:18-cv-25087-CMA Document 1 Entered on FLSD Docket 12/05/2018 Page 3 of 7



 of the State of Florida to conduct business, and transmit electronic information through

 computers, the internet, via email, and otherwise outside of the State of Florida.

        11.     Defendants’ annual gross revenues derived from this interstate commerce are

 believed to be in excess of $500,000.00 for the relevant time period.

        12.     To the extent that records exist regarding the exact dates of Plaintiff’s

 employment exist, such records are in the exclusive custody of Defendants.

        13.     Plaintiff worked for Defendants as a server from July 2017 until July 2018.

        14.     Plaintiff’s work for Defendants was actually in or so closely related to the

 movement of commerce while he worked for Defendants that the Fair Labor Standards Act

 applies to Plaintiff’s work for Defendants in the course of his handling and serving food, produce,

 and beverages that have traveled through interstate commerce while also regularly and

 recurrently utilizing computers, equipment, telephone lines, funds, and electronic transmissions

 that also traveled through interstate commerce.

        15.     Plaintiff regularly, recurrently, and routinely processed credit card and ATM card

 payments utilizing communications that traveled outside of the State of Florida and operated a

 cash register to receive payments for selling food and beverages that traveled in interstate

 commerce prior to his sale of same.

                                               Liability

        16.     During the last three years, Defendants utilized the tip credit to pay their servers at an

 hourly wage rate that was less than the entirety of the applicable minimum wage, even though those

 employees did not retain all of their tips and paid 35% of their credit card tips into a pool managed

 by the Defendants, who used a portion of the collected credit card tips to pay traditionally non-tipped

 employees, including 5% of the pooled tips to managers and 7% of pooled tips to the “house”.

                                                    3	

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Case 1:18-cv-25087-CMA Document 1 Entered on FLSD Docket 12/05/2018 Page 4 of 7



        17.     If an employer satisfies the tip credit requirements, it may apply a portion of the

 employee’s tips (up to a maximum of $3.02 per hour) to satisfy its obligation to pay its employees

 at least a minimum wage.

        18.     If an employer satisfies the tip credit requirements, it may apply a portion of the

 employee’s tips (up to a maximum of $3.02 per hour) to satisfy its obligation to pay its employees

 at least a minimum wage.

        19.     To utilize the tip credit, an employer must allow its tipped employees to retain all

 the tips they receive, except when there is a valid arrangement for “pooling of tips among

 employees who customarily and regularly receive tips.” 29 U.S.C. § 203(m).

        20.     An employer must also notify its employees that it would be relying on the “tip

 credit” to make up the remaining $3.02 per hour.

        21.     If an employer fails to satisfy these requirements, it may not take advantage of the

 tip credit and must directly pay its tipped employees the full applicable minimum wage.

        22.     During his employment with Defendants, they utilized the tip credit to pay their

 servers at an hourly wage rate that was less than the applicable minimum wage (from $5.50 to

 $5.65 per hour in 2017 and 2018) and, while managing the “tip pool”, distributed credit card tips

 collected from servers to traditionally non-tipped employees, including 5% of the pooled tips to

 managers and 7% of pooled tips to the “house”.

        23.     During the last three years, Defendants were not entitled to the tip credit because

 Plaintiff did not receive a wage of least $3.02 less than the applicable minimum wage from

 Defendants due to their practice of requiring Plaintiff to pay 35% of the credit card tips he

 received into a “tip pool”, through which Defendants shared a portion of the tips with


                                                  4	

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Case 1:18-cv-25087-CMA Document 1 Entered on FLSD Docket 12/05/2018 Page 5 of 7



 traditionally non-tipped employees, including 5% of the pooled tips to managers and 7% of pooled

 tips to the “house”.

         24.     During the last three years, Plaintiff attended trainings at the Bocas House

 restaurant, but was not paid the applicable Minimum Wage (without reduction for the “tip

 credit) for all time spent in these trainings.

         25.     During the last three years Plaintiff was forced to perform side work (such as filling

 salt/pepper, polishing silverware, stacking chairs, sweeping, folding napkins, and cashing out the

 register), while not earning tips, in excess of 20% of his work time.

         26.     By failing to satisfy the requirements of 29 U.S.C. §203(m) during the last three

 years, Defendants were not eligible for the tip credit and were required to pay Plaintiff the full

 minimum wage required by the FLSA.

         27.     As a direct and proximate result of Defendants’ violations of the FLSA, as set forth

 above, Plaintiff is entitled to payment of the remainder of the applicable minimum wage plus all tips

 wrongfully or improperly held/distributed.

         28.     Defendants willfully and intentionally refused to pay Plaintiff the applicable

 minimum wage for all of the hours that worked during the relevant time period.

         29.     Defendants either knew from prior experience or recklessly failed to investigate

 whether their failure to pay Plaintiff the applicable a minimum wage for each of the hours

 worked during the relevant time period violated the FLSA and then failed to timely correct their

 violation.

         30.     Any/all conditions precedent to filing this lawsuit occurred and/or was satisfied

 by Plaintiff.

         31.     Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for
                                                    5	

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Case 1:18-cv-25087-CMA Document 1 Entered on FLSD Docket 12/05/2018 Page 6 of 7



 all services rendered.

         WHEREFORE Plaintiff, Christian D. Quiceno Puerta, demands the entry of a judgment

 in his favor and against Defendants, Bocas House Coral Gables, LLC and Mauricio Mantovani,

 jointly and severally, after trial by jury and as follows:

             a. That Plaintiff recover compensatory minimum wage damages and an equal

                 amount of liquidated damages for all overtime work performed for the Defendants

                 as provided under the law and in 29 U.S.C. §216(b);

             b. That Plaintiff recover the tips wrongfully shared/distributed to traditionally non-

                 tipped employees, the “house”, and/or managers;

             c. That Plaintiff recover pre-judgment interest if he is not awarded liquidated

                 damages;

             d. That Plaintiff recover an award of reasonable attorneys fees, costs, and expenses

                 pursuant to the FLSA;

             e. That the Defendants be Ordered to make the Plaintiff whole by providing

                 appropriate minimum wage pay and other benefits wrongly denied in an amount

                 to be shown at trial and other affirmative relief;

             f. All interest allowed by law; and

             g. Such other and further relief as the Court deems just and proper.




                                                     6	

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Case 1:18-cv-25087-CMA Document 1 Entered on FLSD Docket 12/05/2018 Page 7 of 7



                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury of all issues so triable.



 Dated this 5th day of December 2018.


                                                 Respectfully Submitted,

                                                 FAIRLAW FIRM
                                                 Counsel for Plaintiff
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                                                    7	

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